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  1   Christopher B. Ghio (State Bar No. 259094)
      christopher.ghio@dinsmore.com
  2   Christopher Celentino (State Bar No. 131688)
      christopher.celentino@dinsmore.com
  3   Yosina M. Lissebeck (State Bar No. 201654)
      yosina.lissebeck@dinsmore.com
  4   DINSMORE & SHOHL LLP
      655 West Broadway, Suite 800
  5   San Diego, CA 92101
      Telephone:     619.400.0500
  6   Facsimile:     619.400.0501

  7   Special Counsel to Richard A. Marshack, Chapter 11 Trustee

  8
                               UNITED STATES BANKRUPTCY COURT
  9
                  CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10

 11

 12   In re:                                              Case No. 8:23-bk-10571-SC

 13   The Litigation Practice Group P.C.,                 Chapter 11

 14   Debtor.                                             OMNIBUS REPLY TO OBJECTIONS TO
                                                          MOTION FOR ORDER REJECTING
 15                                                       CONSUMER CONTRACTS WHICH
                                                          WERE EXCLUDED OR REMOVED
 16                                                       PURSUANT TO 11 U.S.C. § 365;
                                                          DECLARATION OF YOSINA M.
 17                                                       LISSEBECK

 18                                                       Date:     January 31, 2024
                                                          Time:     1:30 P.M. (Pacific Time)
 19                                                       Location: Courtroom 5C1
                                                                    411 West Fourth Street
 20                                                                 Santa Ana, CA 92701

 21

 22

 23            On December 27, 2023, Richard A. Marshack, the Chapter 11 Trustee (the "Trustee") for

 24   the bankruptcy estate of The Litigation Practice Group P.C., (the "Debtor") in the above-captioned

 25   bankruptcy case (the "Case"), filed this motion (the "Motion") for entry of an order rejecting the

 26   consumer client contracts for those clients which were excluded or removed by MLG as provided

 27
      1
        Video and audio connection information for each hearing will be provided on Judge Clarkson's
 28   publicly posted hearing calendar, which may be viewed online at:                    http://ecf-
      ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.


                                                      1
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                                1   for in the Agreement of Purchase and Sale and Joint Escrow Instructions dated as of August 4,

                                2   2023, by and between the Trustee and MLG (the "Purchase Agreement") (collectively, the

                                3   "Rejected Consumer Contracts"). This Motion was served on all parties in interest, including of

                                4   course, those parties whose files were being rejected. The deadline to object to the Motion was

                                5   January 17, 2023. Two parties filed objections, Meredith Fahn [Doc #851] and Jon Newman [Doc

                                6   #853]; and a late response was filed by Tracy Carrington [Docket #866]. The Trustee hereby files

                                7   this Omnibus Reply to those responses.

                                8           As set forth in the Motion, pursuant to the terms of the Court's Order (A) Approving Sale

                                9 of Assets Free and Clear of All Liens, Claims, Encumbrances and Interests Pursuant to 11 USC §
                               10 363(b), (B) Approving Assumption and Assignment of Certain Executory Contracts and Unexpired

                               11 Leases, and (C) Granting Related Relief [Dkt. No. 352] (the "Sale Order"), MLG is entitled to
Phoenix, Arizona 85004-2555




                               12 exclude or remove consumer client contracts it identifies.
  1 East Washington Street
     Ballard Spahr LLP




                               13           A.    Legal Standard
         Suite 2300




                               14          Pursuant to Bankruptcy Code section 365(a), a chapter 11 debtor in possession, "subject to

                               15 the court's approval, may . . . reject any executory contract or unexpired lease of the debtor." 11

                               16 U.S.C. § 365(a); In re Player's Poker Club, Inc., 636 B.R. 811, 816-17 (Bankr. C.D. Cal. 2022).

                               17 "In making its determination, a bankruptcy court need engage in 'only a cursory review of a [debtor

                               18 in possession]'s decision to reject the contract. Specifically, a bankruptcy court applies the business
                               19 judgment rule to evaluate a [debtor in possession]'s rejection decision.'" Agarwal v. Pomona Valley

                               20 Med. Group, Inc. (In re Pomona Valley Med. Group, Inc.), 476 F.3d 665, 670 (9th Cir. 2007)

                               21 (quoting Durkin v. Benedor (In re G.I. Indus.), 204 F.3d 1276, 1282 (9th Cir. 1999)). "Since the

                               22 debtor has the right under the Bankruptcy Code to reject the contract, the court's discretion is limited

                               23 once it has determined that the debtor is exercising sound business judgment." In re Health Plan of

                               24 the Redwoods, 286 B.R. 779, 780 (Bankr. N.D. Cal. 2002).

                               25          B.      Basis for Rejection

                               26          Pursuant to MLG's rights under the Sale Order, it has determined it will not be accepting

                               27 representation of the Consumer Contracts identified in the Sealed Exhibit A. Because the Estate is

                               28 not in a position to provide legal representation to these consumers, Trustee has properly exercised

                                                                                      2
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                                1 his business judgment to reject these contracts. There is no prejudice to the Consumer Contract

                                2 parties. On January 23, 2024, the Trustee served the claims bar date notice and proof of claim forms

                                3 to all parties, including all consumers contained in the Luna database. Further, this motion requests

                                4 that the Court set a 60-day deadline after entry of the order for any party asserting an administrative

                                5 claim to file a properly noticed motion. Thus, if a consumer client believes they have an unsecured

                                6 or administrative claim, they can file one.

                                7         C.   The Responses

                                8         Ms. Fahn submitted an objection. Ms. Lissebeck, the Trustee's special counsel, contacted

                                9 MLG and verified that Ms. Fahn's file was not included in the sale, as Mr. Daniel March served as
                               10 her attorney of record. Ms. Fahn’s objection confirms the fact that Mr. Marsh was her attorney and

                               11 that on February 9, 2023, she had a telephone conversation with Mr. March and “he personally
Phoenix, Arizona 85004-2555




                               12 assured me of continued representation.” See, Objection, Doc #851, pg, 3, paragraph 6. Mr. March
  1 East Washington Street
     Ballard Spahr LLP




                               13 stated to this Court, at a hearing on the Preliminary Injunction on June 12, 2023, in Adversary
         Suite 2300




                               14 Proceeding 23-01046, that he would continue as the attorney of record for the approximately 200

                               15 files he handled for LPG. A copy of the pertinent parts of the transcript are attached to the

                               16 Declaration of Ms. Lissebeck as Exhibit 1. Despite Mr. March’s representation to both Ms. Fahn

                               17 and to this Court, based on Ms. Fahn’s objection it appears Mr. March has abandoned her. The

                               18 Estate cannot represent Ms. Fahn and the request to reject is still reasonable. Ms. Fahn indicated
                               19 she already filed a proof of claim, which is her remedy for a rejection.

                               20         Mr. Newman provided an opposition. Ms. Lissebeck, the Trustee's special counsel,

                               21 contacted MLG and verified that neither the Estate nor MLG withdrew any funds from Mr.

                               22 Newman. In his opposition, Mr. Newman corroborated that he made his last payment in September

                               23 2022. See, Opposition, Doc 853, pg. 4, paragraph 3. Ms. Lissebeck also confirmed that MLG

                               24 provided Opt-Out documents to Mr. Newman, as he requested. Mr. Newman states that he wanted

                               25 to speak with Lex prior to returning the Opt-Out documents. Ms. Lissebeck asked MLG to review

                               26 its files, and it verified that Lex did call Mr. Newman back, but Mr. Newman did not answer and

                               27 they never did speak. The Estate cannot represent Mr. Newman, and MLG has rejected the client

                               28 file pursuant to its rights under the Sale Order. Mr. Newman is of course able to file a proof of

                                                                                     3
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                                1 claim with the Estate for the $7,560.00. On January 23, 2024, the Estate emailed Mr. Newman the

                                2 Bar Date Notice and the Proof of Claim Forms.

                                3          Ms. Carrington, filed a late response to the Motion on January 23, 2024. Ms. Lissebeck,

                                4 the Trustee's special counsel, contacted MLG and confirmed that neither the Estate nor MLG had

                                5 withdrawn any funds from Ms. Carrington and that her last payment was made to LPG on October

                                6 23, 2021. The Estate cannot represent Ms. Carrington, and MLG has rejected the client file pursuant

                                7 to its rights under the Sale Order. Ms. Carrington can submit a proof of claim for any amount owed

                                8 to her with the Estate. On January 23, 2024, the Estate emailed Ms. Carrington the Bar Date Notice

                                9 and the Proof of Claim Forms.
                               10          The Trustee understands that the rejected consumer clients may need to obtain new legal

                               11 representation. In response to the hundreds of creditor emails and phone calls, Trustee has already
Phoenix, Arizona 85004-2555




                               12 suggested that parties reach out to their local bar association for assistance. As part of the Motion,
  1 East Washington Street
     Ballard Spahr LLP




                               13 the Trustee also requests authority to file a motion seeking an order authorizing him to refund such
         Suite 2300




                               14 monies to the rejected consumer clients, in his sole discretion and upon a reasonable request with

                               15 evidence supporting such refunds. In that Motion he intends to follow the Court’s instructions at

                               16 the hearing on the sale motion, to provide those consumers not only a mechanism to obtain refunds

                               17 from the Estate, but also contact information for several consumer groups that can assist this clients

                               18 with future legal representation.
                               19 IV.      CONCLUSION

                               20          Based upon the foregoing, along with the Motion, the Trustee submits that the relief

                               21 requested is in the best interest of the Estate and that while the Trustee understands the frustration

                               22 the consumer clients are facing, the remedy is to file a claim. Thus, as none of these objecting

                               23 parties provided a legal basis to overturn the sound business judgment of the Trustee, he

                               24 respectfully requests that the Court grant the Motion and enter an order:

                               25          1.     Authorizing rejection of the Contracts under section 365(a) of the Bankruptcy

                               26 Code;

                               27 ///

                               28 ///

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                                1           2.   Ordering that any unsecured claim arising from rejection must be filed by the

                                2 deadline set by the Court for the filing of any unsecured claim (set for February 23, 2024 at 4:00

                                3 p.m. PST);

                                4           3.   Setting a 60-day deadline for the filing of any motion seeking allowance of an

                                5 administrative claim arising from rejection;

                                6           4.   Allows the Trustee to file a motion seeking an order authorizing him to refund such

                                7 monies to the rejected consumer clients, in his sole discretion and upon a reasonable request with

                                8 evidence supporting such refunds; and

                                9           5.   Granting the Trustee such other and further relief as the Court deems just and

                               10 proper.

                               11 Dated: January 24, 2024                   Respectfully submitted,
Phoenix, Arizona 85004-2555




                               12                                           DINSMORE & SHOHL LLP
  1 East Washington Street
     Ballard Spahr LLP




                               13
         Suite 2300




                                                                            By: /s/ Yosina M. Lissebeck
                               14                                               Yosina M. Lissebeck
                                                                                Christopher B. Ghio
                               15                                               Christopher Celentino
                                                                                Counsel to Richard A. Marshack,
                               16                                               Chapter 11 Trustee
                               17

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                                            DECLARATION OF YOSINA M. LISSEBECK IN SUPPORT OF REPLY
                                1

                                2   I, Yosina M. Lissebeck, declare:

                                3          1.      I am a Partner at Dinsmore and Shohl, LLP, Special Counsel to the Chapter 11

                                4   Trustee (the "Trustee") of the bankruptcy estate (the "Estate") of the Debtor. As such, except as

                                5   expressly stated otherwise, I have personal knowledge of the facts set forth below and could and

                                6   would competently testify under oath thereto if requested to do so.

                                7          2.      I submit this Declaration in support of the Omnibus Reply to the Objections to

                                8   Motion for Order Rejecting Consumer Contracts That Were Excluded or Removed Pursuant to 11

                                9   U.S.C. § 365 (the "Motion") to which this Declaration is attached. Capitalized terms not otherwise

                               10   defined herein have the same meanings ascribed to them in the Motion.

                               11          3.      After receiving Ms. Fahn’s objection, I contacted MLG and verified that Ms. Fahn's
Phoenix, Arizona 85004-2555




                               12   file was not included in the sale, as Mr. Daniel March served as her attorney of record. Mr. March
  1 East Washington Street
     Ballard Spahr LLP




                               13   stated to this Court, at a hearing on the Preliminary Injunction on June 12, 2023, in Adversary
         Suite 2300




                               14   Proceeding 23-01046, that he would continue as the attorney of record for the approximately 200

                               15   files he handled for LPG. A copy of the pertinent parts of the transcript are attached hereto as

                               16   Exhibit 1.

                               17          4.      After receiving, Mr. Newman’s opposition, I contacted MLG and verified that

                               18   neither the Estate nor MLG withdrew any funds from Mr. Newman. I also confirmed that MLG

                               19   provided Opt-Out documents to Mr. Newman, as he requested. I asked MLG to review its files,

                               20   and it verified that Lex did call Mr. Newman back, but Mr. Newman did not answer and they never

                               21   did speak.

                               22          5.      After receiving, Ms. Carrington’s late response, I contacted MLG and confirmed

                               23   that neither the Estate nor MLG had withdrawn any funds from Ms. Carrington and that her last

                               24   payment was made to LPG on October 23, 2021.

                               25   ///

                               26   ///

                               27   ///

                               28   ///

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                                1          6.      On January 23, 2024, the Estate emailed the Bar Date Notice and the Proof of Claim

                                2   Forms to all creditors, including Ms. Fahn, Mr. Newman and Mr. Carrington.

                                3          I declare under penalty of perjury under the laws of the United States of America that the

                                4   foregoing is true and correct.

                                5

                                6   Dated: January 24, 2024
                                                                                /s/ Yosina M. Lissebeck
                                7                                                       Yosina M. Lissebeck
                                8

                                9
                               10

                               11
Phoenix, Arizona 85004-2555




                               12
  1 East Washington Street
     Ballard Spahr LLP




                               13
         Suite 2300




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                                1                                   EXHIBIT "1"

                                2

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                               11
Phoenix, Arizona 85004-2555




                               12
  1 East Washington Street
     Ballard Spahr LLP




                               13
         Suite 2300




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       1                    UNITED STATES BANKRUPTCY COURT
       2                    CENTRAL DISTRICT OF CALIFORNIA
       3                                  --oOo--
       4 In Re:                        ) Case No. 8:23-bk-10571-SC
                                       )
       5 THE LITIGATION PRACTICE GROUP ) Chapter 11
         P.C.,                         )
       6                               ) Santa Ana, California
                   Debtor.             ) Monday, June 12, 2023
       7 ______________________________) 1:30 p.m.
                                       )
       8 MARSHACK,                     ) Adv. No. 8:23-ap-01046-SC
                                       )
       9           Plaintiff,          )
                                       )
      10       vs.                     )
                                       )
      11 DIAB, ET AL.,                 )
                                       )
      12           Defendants.         )
         ______________________________)
      13

      14                                      HEARING RE: PRELIMINARY
                                              INJUNCTION
      15
                                              STATUS CONFERENCE HEARING RE:
      16                                      (1) CASE MANAGEMENT CONFERENCE
                                              AND (2) REQUIRING STATUS
      17                                      REPORT
      18                       TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE SCOTT CLARKSON
      19                    UNITED STATES BANKRUPTCY JUDGE
      20

      21

      22

      23

      24
         Proceedings recorded by electronic sound recording;
      25 transcript produced by transcription service.




                                                        Briggs Reporting Company, Inc.

                                                                      EXHIBIT 1
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                                                                                    124
       1                THE CLERK:    If you could speak into the mic.
       2                THE WITNESS:    Sure.
       3                THE CLERK:    Thank you.
       4                THE COURT:    But the microphone is very sensitive,
       5 so you don't need to get close to it.           They're so sensitive
       6 that I can hear the people that are whispering in the last

       7 row from these microphones here, and I pay attention to

       8 everything.      Go ahead.
       9                             DIRECT EXAMINATION
      10 BY MR. CELENTINO:

      11 Q     Mr. March, thank you.        I understand from earlier you
      12 are the attorney of record for the Debtor out of possession,

      13 Litigation Practice Group, correct?

      14 A     Correct.
      15 Q     We heard earlier that you have approximately 200
      16 clients left that you continue to provide services for, that

      17 were services of Litigation -- clients of Litigation

      18 Practice Group, correct?

      19 A     Yes, Litigation California (indiscernible).
      20 Q     Thank you.      As to those clients, are you aware that any
      21 of them still have financial obligations owing to Litigation

      22 Practice Group on their contract with Litigation Practice

      23 Group?

      24 A     I believe that none of them owed any money to LPG, and
      25 if they did, I believe it was probably waived anyway.                So




                                                         Briggs Reporting Company, Inc.

                                                                       EXHIBIT 1
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                                                                                    125
       1 no, nobody owes anything.

       2 Q     And you are the attorney of record for those clients in
       3 pending cases now?

       4 A     Yes, it's LPG, Litigation Practice Group P.C., my name
       5 and then my bar number.

       6 Q     And you've agreed to continue to finish out those cases
       7 pursuant to the terms with those clients, correct?

       8 A     I will, yes, and I have.
       9 Q     Thank you.      Do you know who Wes Thomas is?
      10 A     Not exactly.
      11 Q     Do you remember that he was the chief financial officer
      12 of LPG?

      13 A     He was there -- he wasn't the CFO, but he was an -- he
      14 was in charge, yeah.

      15 Q     Okay.     You understand how -- let me start over.
      16       The main source of revenue for LPG was through
      17 contracts that allowed ACH draws from its clients, correct?

      18 A     Yes.
      19 Q     And those contracts were primarily monthly draws,
      20 correct?

      21 A     Yes.
      22 Q     And there was a term period that was typically --
      23                THE COURT:   Mr. Celentino.     Mr. Celentino, in
      24 running this evidentiary hearing, I realized that there is

      25 very few people here who are willing to or want to object to




                                                         Briggs Reporting Company, Inc.

                                                                       EXHIBIT 1
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document: OMNIBUS REPLY TO OBJECTIONS TO MOTION FOR
ORDER REJECTING CONSUMER CONTRACTS WHICH WERE EXCLUDED OR REMOVED PURSUANT TO
11 U.S.C. § 365; DECLARATION OF YOSINA M. LISSEBECK

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On January 24, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On January 24, 2024, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on January 24, 2024,
I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

                   JUDGE'S COPY - VIA FEDEX
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  January 24, 2024                Caron Burke                                            /s/ Caron Burke
  Date                          Printed Name                                             Signature




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Eric Bensamochan on behalf of Creditor Affirma, LLC
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Creditor Oxford Knox, LLC
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Interested Party Courtesy NEF
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Interested Party Eric Bensamochan
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Peter W Bowie on behalf of Trustee Richard A Marshack (TR)
        peter.bowie@dinsmore.com, caron.burke@dinsmore.com

        Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
        ron@rkbrownlaw.com

        Christopher Celentino on behalf of Plaintiff Richard A. Marshack
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Shawn M Christianson on behalf of Interested Party Courtesy NEF
        cmcintire@buchalter.com, schristianson@buchalter.com

        Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
        rbc@randallbclark.com

        Leslie A Cohen on behalf of Defendant Lisa Cohen
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Leslie A Cohen on behalf of Defendant Rosa Bianca Loli
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Leslie A Cohen on behalf of Interested Party Courtesy NEF
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Aaron E. DE Leest on behalf of Interested Party Courtesy NEF
        adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

        Anthony Paul Diehl on behalf of Interested Party Courtesy NEF
        anthony@apdlaw.net, Diehl.AnthonyB112492@notify.bestcase.com,ecf@apdlaw.net

        Jenny L Doling on behalf of Interested Party INTERESTED PARTY
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Jenny L Doling on behalf of Interested Party National Association of Consumer Bankruptcy Attorneys
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Jenny L Doling on behalf of Interested Party National Consumer Bankruptcy Rights Center


     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Daniel A Edelman on behalf of Creditor Carolyn Beech
        dedelman@edcombs.com, courtecl@edcombs.com

        Meredith Fahn on behalf of Creditor Meredith Fahn
        fahn@sbcglobal.net

        William P Fennell on behalf of Creditor Validation Partners LLC
        william.fennell@fennelllaw.com,
        luralene.schultz@fennelllaw.com;wpf@ecf.courtdrive.com;hala.hammi@fennelllaw.com;naomi.cwalinski
        @fennelllaw.com;samantha.larimer@fennelllaw.com

        Jeremy Freedman on behalf of Plaintiff Richard A. Marshack
        jeremy.freedman@dinsmore.com

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